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AO' 93 (Rev. 11/13) Search and Seizure Warrant

UNITED STATES DISTRICT COURT

for the
Eastern District of Virginia

In the Matter of the Search of )
(Briefly describe the property to be searched . )
or identify the person by name and address/1 ) Case N0_1.17SW449

THE PREMlsES LocArEn § t
ALEXANDR|A, V|RG|N|A 22314
) UNDER SEAL

SEARCH AND SEIZURE WARRANT

Tc: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Eastern District of Virgil'\ia
(identszj) the person or describe the property to be searched and give its location)$ 7

See Attach ment A

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (idenri]j) the person or describe the property to be seizea?:

See Attachment B

YOU ARE COMMANDED to execute this warrant on or before 7 August 8, 2017 (nar co exceed 14 days)
§ in the daytime 6:00 a.m. to 10:00 p.m. l:l at any time in the day or night because good cause has been established

Unless delayed notice is authorized below, you must give a copy of the Warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
pioperty was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory

as required by law and promptly return this warrant and inventory to Honorable Theresa C. Buchanan
(United States Magistraie Judge)

13 Pursuant to 18 U. S. C. § 3103a(b), I find that immediate notification may have an adverse result listed m 18 U. S C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person Who, or Whose
prOp€!'fy, Wlll ‘ 116 SCBICth OI‘ SeiZBd (check the appropriate box)‘ *`
lj for ("' days (n;at to exceed 30) IJ until, the facts justifying, the later specific date of

 

1 1 ‘ Theresa eurollBucl `*--
':[!241) j 1 »-_? 11 ‘ w 1*,/1/\»/ %}./me'l'§gatcs Maglsnaie wage

Date and time issued:

 

"' Jua'ge'., v signature

 

City and gram A|exandria, Virginia_r_r Honorabie Theresa C. Buchanan
' Prz'med name and title

 

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AO 93 (Rev. 11/13) Search and Seizure Warrant (Page 2)

 

 

 

41 Return
Case No.: Datc d t` ewarrant executed: . Copéof w ant` and inve tory left with:
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§

 

 

Inventory made in the presence of : '
z>a.w] /L‘QKA’»‘F¢’»‘"€

Inventory of the property taken and name of any person(s) seized:

 

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Certification

 

l declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the

designated judge. '
! ! Mgnamre

Printed name and ride

   

Date: §SjLE/'r/w l §

 

 

 

 

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Attachment A UN|TED STATE DEPARTMENT OF JUST|CE
FEDERAL BUREAU OF lNVESTlGATlON

Recelpt for Property Recelveleeturnolee|easad/Selzed

 

 

 

 

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-

On (date) 7/26/2017 item(s) listed below were:
[] Received From

l:l Recelved To
l:l Releasecl To
Seized

 

 

(Name) Paul Manafort
lSrreefAddreSSl _
(City) Alexandria, VA 22314

 

Description of ltem(s):
Financial documents, calendars, list of passwords

Business agreement

Pa pers with e-mail addresses handwritten notes, letter from -correspondence, envelopes from
financial institutions

Caplta| One statement + deposit acct- Capita| One statement + deposit accti- Capltal

One deposit acct#_
M+T Bank Acct -M+T Bank Acct#_

Various banking deposit slips from Citibank, Wells Fargo, acct statements Citigold acct- transfer +

acct statements Citigold acctii_

Handwritten list of contacts

l-iudson City Savings Bank Acct#_ Hudson City Savings Bank Acct#_
Transactlon Register: "Capital One“, Transaction Register: "Opened Mar 20, 2013", Transaction Register:

'_
Capital One brokerage statement acci_ Capital Oneracct. profile + agreement acct:_

First Repub. Bank acct statement:-First Repub. Bank acct statement _

 

Nine (9) green hanging file folders containing financial and other documents
Thirteen (13) green hangingfile folders containing documents

Safetv deposit key number 55 with envelope labeled "CCFSB"
1 Citibank banking document, handwritten notes on yellow lined paper, with envelope "Davis, Manafort inc

_A|exa"dria Virsinia 22314"

4 Capitol One banking documents with envelope "Hudson M&T savings"

 

 

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UN|TED STATE DEPARTMENT OF JUSTICE
FEDERAL BUREAU OF |NVESTlGATlON

Racelpt for Property RecaiveleaturneleeleasedlSeized

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_

Eight (8) documents from hanging file drawer #4, plus one (1) green hanging file

Seven (7) green and five (5) brown hanging file folders containing documents.

Check for USB acct:_

One (1) deposit slip, Two (2) documents from Charles Schwab re: closure of accounts; one addressed to Pau|

Manafort, one addressed to _

Pack of4 DVD discs, "Hyatt Regency Kyiv" notepaper used to make handwritten notes mentioning "laptop",
"flashdrin", "and "disc"

1 black external hard drive "simp|etech" logo. SN: unknown; BOM No:_

1 B|ue external hard drive ~ "WD" logo SN: _
American Express Business Platinum, _ending in - Ramshead Farm

UBS Visa, _ ending in- UBS Visa, Ramshead Farms LLC Paul Manafort, ending in-
UBS Visa, LOAV LTD Pau| J. Manafort, ending in- UBS Visa, John Hannah LLC Pau| J. Manafort, ending in

510, drawer two; including financial documents. Box 2 of 2.
510, drawer three, including real estate, inheritance, investment, tax, retirement and art purchase documents
510, drawer one, including financial and real estate document

510, drawer two; including real estate and financial documents. Box 1 of 2.

Twenty (20) documents containing financial + other information, located in Char|es Schwab folder on built-in
library shelf

Financial document

1 black watch, labeledn"The Royal Way, Bijan, N03"

512 lVlB Sandisk SD Card from Nikon Cool Pics FN'l located in black case in black/red camera/video bag
3268 Transcend SD card located in Go Pro Hero 2 from black bower camera bag

1 86 Transcend SD card; 1 3268 SD card Nikon D~7000 located in black/red Tamrac camera bag

lGB Sandisk card from Casio EXlLlM camera from gray mesh bag `

B|ack Sony stick 32GB located in a Sony camera from black Lo Pro bag

16GB San Disk SD Card from Nikon D-90 located in black Nikon camera bag

Micro SD 646 - found in Nikon l camera from bright green Tumi camera bag

16 GB Sandisk SD card from Nikon Cool Pics S-9j00 located in bright green Tumi camera bav

1 IGGB Sony memory stick pro located in Sony handicam from Sony leather handicam case in clear zlploc

 

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UN|TED STATE DEPARTMENT OF JUST|CE
FEDERAL BUREAU OF INVESTlGATlON

\ Receipt for Property Rscelved!Returneleeleased/Seized

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-

, iPod, 64 GB, SN:-
BZGB Transcend SZGB SD card located in Panasonic HCV700M video camera + black/red video bag

2 16MB Lexar compact flash cards; 1 Viking 128MB compact flash card; 1 San Disk 4GB SD card; 1 San Disk
256MB memory sticl<; 1 SMB Sony mega memory stick; lGii lVlB Sony memory stick; 1 1668 Sony memory stick

ZGB Po|aroid SD card located in Casio camera

BGB Sony memory stick located in Sony cyber shot in black pouch + black mesh bag
Lexar 1GB SD card located in Casio EX-ZlZOO, in black mesh bag

4 GB memory stick, Sony, located in Sony cyber shot in black Sony pouch

4GB San Disk SD card located in Canon power shot XSZlO in black camera bag

o Drive slim, sooea,~ sN_

RMK_lVlacBook__Air_Western Digital WD7500BPKX-00HPJTO 750GB hard drive, S/N - containing
memory dump and image of a SOOGB solid state drive from an Apple MacBook Air model A1466, S/N

Western Digital external hard drive, SN: -

4 Citibank financial documents

2 M&T banking statements (accts:- and- Capita| One brokerage statement (accts ~-, 2
property tax assessments (Land Rover Financial Group)

iPad - 64GB sN:-_

iomega hard drive; model 371905000; SN:-
Mobi|e Mate SD+ memory card reader - San disk; Memorex BGB lVlegaTravel Drive, w/case - in Ziploc bag
iomega hard drive,' mode|# 31847300 SN: _ in black case

(6) Si)< blue thumbdrives; (2) Two pink thumbdrives

HP Mobile USB Drlve; Kit#DOS49A, Drive Spare #348648:001 Cable Spare #348649-001

Seagate Go Flex hard drive S/N: - y

iPad - 64GB serial#:_
iPhone in black and orange case lMEl: _

 

Sony micro vault pro - SGBVSN: - located in blue case

DEWF_COMBOl: A 1TB HGST HDD, S/N:- containing forensic images and device extractions
from rooms: C, F, K, and Q

5 UBS checks from 5 different accounts

 

 

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UN|TED STATE DEPARTMENT OF JUST|CE
FEDERAL BUREAU OF lNVEST|GAT|ON

Recelpt for Property Receiveleeturnad/Released/Seized

rare in -
-

6 blank deposit slips from various banks, 7 check reorder forms from various banks, 1 top page of Merri|l Lynch
checkbook '

Financial records
Documents of personal letters, vehicle information, e_mail information, contact information, Politico article
"Mystery Man: Ul<raine‘s U.S. Political Fixer."

iomega portable hard drive lTB SN-

Documents and seal for JESAND, LLC

Life insurance policy information from Northwestern Mutual
Estimates and/or quotes of high dollar items from Mallett, lnc.

Art records and financial records and home appraisals

Received By _ Received From Pau| Manafort

(signature) (signature)

 

 

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ATTACHMENT B

List of items digitally imaged on-premises, not physically taken:

RMC_IPOD_TOUCH ~ Apple iPod Touch 8 Gigabyte (GB) 4th Generation, Model: A1367,

MC540LL/A, Serial Number (S/N): - A file system and logical extraction

was made. `

RMF__IMAC - Apple iMac (27-inch, Mid 2011), Model: A1312, S/N:

EMC No: 2429 containing a 250 GB Apple Solid State Drive (SSD), Model: T8256C, S/N:
and a l TB Western Digital Hard Disk Drive (HDD), Model:

WDlOOlFALS-403AAO, S/N:Wdate and time ofthe device Was

accurate The owner supplied the password: was used to gain access to the

computer and the WiFi networking was turned off at approximately 7:29 AM. A memory

capture was made of the running computer. No encryption was detected on the internal

HDDs.
RMF_IPHC)NE7 - Black Apple iPhone 7 32 GB, Model: A1660 / MNACZLL/A, S/N:

IMEI: ICCID: MEID:
containing Verizon SIM: running IOS 10.2.1

(14D27). There was no Apple ID associated with the phone. The phone name is: iPhone. A
file system and logical extraction Was made of the phone and a logical extraction Was made
of the SIM card.

RMF_IPOD__TOUCHI - Apple iPod Touch 8 GB 4th Generation, Model: A1367,
MC540LL/A, S/N: - A file system and logical extraction was made.
RMF__IPOD_TOUCHZ - Apple iPod Touch 8 GB 4th Generation, Model: A1367,
MC540LL/A, S/N: _ A file system and logical extraction was made.
RMF_IPOD - Apple iPod 160 GB, model: A1238, S/N: - A forensic image
was made. Note: The forensic image was inadvertently named the same as RMF_FLASH] 0.
RMF_SDCARD - 512 MB Lexar Platinum SD card, Model: 3401-5128A 4505C, Universal
Serial Bus (USB) S/N: - A forensic image was made.

RMF_FLASH2 - 32 GB Monster Digital Flash Drive, USB S/N: _ A
forensic image was made.

RMF__FLASH3 - 4 GB Silver and Clear Flash Drive, USB S/N: - A forensic image
was made.

RMF_FLASH4 - 8 GB Generic Blue Colored Flash Drive, USB S/N: - A forensic
image was made.

RMF_FLASHS - 8 GB Gencric Blue Colored Flash Drive, USB S/N: - A forensic
image was made.

RMF-FLASH6 - 8 GB Generic Blue Colored F lash Drive, USB S/N: - A forensic
image was made.

RMF-FLASH8 - 64 Megabyte (MB) Dell Flash Drive, USB S/N: _ A
forensic image was made.

RMF-FLASH9 - 8 GB Generic Blue Colored Flash Drive, USB S/N: - A forensic

image was made.
RMF-FLASHIO - 4 GB Highcountry Investments Limited Flash Drive, no S/N. A forensic

image was made.

 
   

   
 

 

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RMF-FLASHII ~ 8 GB Generic Blue Colored Flash Drive, USB S/N: _ A forensic
image was made.

RMF-FLASH12 - 8 GB Generic Blue Colored Flash Drive, USB S/N: _ A forensic
image was made.

RMF-FLASH13 - 1 GB Blue KWC Flash Drive, no S/N. A forensic image was made
RMK_MACBOOK_LAIR - Apple Macbook Air (l?>-inch, Early 2015), Model: A1466, S/N:
EMC No: 2925 containing a 500 GB Apple SSD, Model: SM0512G, S/N:
The owner entered the password to unlock the computer. The internal
SSD was Apple Filevault encrypted. A memory capture was made of the running computer.
A decrypted image of the computer was made.

RMK IPHONE7 - White Apple iPhone 7 32 GB, Model: A1660 / MNSJZLL/A, S/N:

_ IMEI; ICCID: MEID:
containing AT&T SIM: running IOS 10.3.2
(14F89). The Apple ID associated with the phone is e-
_

mail: The phone name is: KBM AT&.T. A file system and
logical extraction was made of the phone and a logical extraction was made of the SIM card.
RMK_IPHONE7PLUS » Jet Black Apple iPhone 7 Plus 256 GB, Model: A1661 /

MN4L2LL/A, S/N: ICCID:
containing AT&T SIM:

running IOS 10 3. 2 (14F89). The Apple ID associated with the
phone is paul manafort, The phone name is: Channel 3. A
file system and logical extraction Was made of the phone and a logical extraction Was made
of the SIM card.

RMK IPAD MINIl - Black Apple iPad Mini with Retina Display 32 GB, Model: A1490,

s/N: _ _ MslsDN; ICCID:
IMSI: containing Verizon SIM: running IOS

10.3.2 (14F89). The Apple ID associated with the table is paul manafort, e-mail:

he tables name is: iPad. A file system and logical extraction was
made of the tablet and a logical extraction was made of the SIM card.

RMK_IPAD_MINIZ -_ White Apple iPad Mini 64 GB, Model A1455, S/N:

IMEI: MEID: _ containing Verizon SIM:

running IOS 8.1.2 (12B440). The Apple ID associated with the
tablet is paul manafort, e-mail: _The table name is: Paul IPAD Mini.
A file system and logical extraction was made of the tablet and a logical extraction Was made
of the SIM card.

RMK_IPOD_TOUCHI - Apple iPod Touch 8 GB 4th Generation, Model: A1367,
MC540LL/A, S/N: _ A file system and logical extraction was made.
RMK_IPOD_TOUCH2 - Apple iPod Touch 8 GB 4th Generation, Model: A1367,
MC540LL/A, S/N: _ A file system and logical extraction was made.
RMK_CAMERA_MICROSD - 4 GB Toshiba Micro SD HC memory card from an Olympus
digital camera, model: Stylus Tough-6000, S/N: _ A forensic image was made.
RMK_SONYCAMERA_SDCARD - 4 GB Sony SD HC memory card from a Sony Cyber-
shot digital camera, model: DSC-WXS, S/N: - A forensic image was made. ‘
RMK_FLASHI - 512 MB SanDisk Cruzer Micro. A forensic image Was made.
RMK_FLASH2 - 8 GB Generic Blue Colored Flash Drive. A forensic image was made.

 
   
  
   

 

 
 
 
 
 
 

 
 
 
 
 
 

 

  

  
  
  
 
 
 
 

 

  
 

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RM(LCAMCORDER__SDCARDI - 32 GB SanDisk Ultra SD HC memory card from Slot A
of a Canon VIXIA HF G30 camcorder. A forensic image was made.
RMQ_CAMCORDER_SDCARD2 - 64 GB SanDisk Ultra SD XC I memory card from Slot
B of a Canon VIXIA HF G30 camcorder. A forensic image was made.

 

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ATTACHME§T A
The Property to Be Searched

The premises to be searched (the`“Subject Premises”) is the condominium unit located at

_ Alexandria, VA 22314, including the storage unit numbered l

. as well as any locked drawers, containers, cabinets, safes, computers, electronic devices, and

storage media (such as hard disks or other media that can store data) found therein

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ATTACHMENT B
Items to Be Seized (or, in the alternative, identified)

l. Records relating to violations of 31 U.S.C. §§ 5314, 5322(a) (failure to file a report
of foreign bank and financial accounts); 22 U.S.C. § 6l l, et. seq. (foreign agents registration act);
26 U.S.C. § 7206(1) (filing a false tax return); 18 U.S.C. § 1014 (fraud in connection with the
extension of credit); 18 U.S.C. §§ 1341 , 1343, and 1349 (mail fraud, wire fraud, and conspiracy to
commit these offenses); 18 U.S.C. §§ 1956 and 1957 (money laundering and money laundering
conspiracy); 52 U.S.C. §§ 30121(a)(l)(A) and (a)(2) (foreign national contributions); and 18
U.S.C. §§ 371 and 2 (conspiracy, aiding~and abetting, and attempt to commit such offenses)
(collectively, the “Subject Off`enses”), occurring on or after January l, 2006, including but not

limited to:

a. Any and all financial records for Pau| Manafort, Jr., , Richard
Gates, or companies associated with Paul Manafort, Jr., , or
Richard Gates, including but not limited to records relating to any foreign financial
accounts and records relating to payments by or on behalf of any foreign

government, foreign officials, foreign entities, foreign persons, or foreign
principals;

 
 
 
 

b. Any and all federal and state tax documentation, including but not limited to
personal and business tax returns and all associated schedules for Paul Manafort,
Jr., Richard Gates, or companies associated With Manafort or Gates;

c. Letters, correspondence, emails, or other forms of communications with any
foreign financial institution, or any individual acting as the signatory or controlling
any foreign bank account;

d. Records relating to efforts by Manafort, Gates, or their affiliated entities to conduct
activities on behalf of`, for the benefit of, or at the direction of any foreign
government, foreign officials, foreign entities, foreign persons, or foreign
principals, including but not limited to the Party of Regions and Viktor

Yanukovych;

e. Records relating to, discussing, or documenting Telmar Investments Limited,
Tiakora Ventures Limited, Lucicle Consultants Limited, Actinet Trading Limited,
Black Sea View Limited, Bletilla Ventures Limited, Evo Holdings Limited, Global
Highway Limted, Leviathan Advisors Limited, Loav Advisors Limited, Peranova
Ho|dings Limited, including but not limited to bank records, canceled checks,
money drafts, letters of credit, cashier’s checks, safe deposit records, checkbooks,
and check stubs, duplicates and copies ofchecks, deposit items, savings passbooks,
wire transfer records, and similar bank and financial account records;

f. Physical items purchased through the use of funds from Cypriot accounts, including

but not limited to rugs purchased from , a Bijan Black Titanium
“Royal Way” watch, and clothing purchased from
-

 

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g. Evidence relevant to any false statements, pretenses, representations, or material
omissions in connection with communications with the Department of Justice, the
lnternal Revenue Service, tax preparers, accountants, or banks;

h. Communications, records, documents, and other files involving any of the
attendees of the June 9, 2016 meeting at Trump tower, as well as Aras and Amin
Agalorov;

i. Evidence indicating Manafort’s state of mind as it relates to the crimes under

investigation;

j. The identity of any person(s)_including records that help reveal the whereabouts
of the person(s)_who communicated with Manafort about any matters relating to
activities conducted by Manafort on behalf of, for the benefit of, or at the direction
of any foreign government, foreign officials, foreign entities, foreign persons, or
foreign principals;

k. Any and all daily planners, logs, calendars, or schedule books relating to Manafort

or Gates.
2. Computers or storage media used as a means to commit the Subject Offenses.
3. For any computer or storage medium whose seizure is otherwise authorized by

this warrant, and any computer or storage medium that contains or in which is stored records or
information that is otherwise called for by this warrant (hereinafter, “COMPUTER”):

a. evidence of who used, owned, or controlled the COl\/IPUTER at the time the
things described in this warrant were created, edited, or deleted, such as logs,
registry entries, configuration files, saved usernames and passwords,
documents, browsing history, user profiles, email, email contacts, “chat,”
instant messaging logs, photographs, and correspondence;

b. evidence of software that would allow others to control the COMPUTER,
such as viruses, Trojan horses, and other forms of malicious software, as well
as evidence of the presence or absence of security software designed to detect
malicious software;

c. evidence of` the lack of such malicious software;

d. evidence indicating how and when the computer was accessed or used to
determine the chronological context of computer access, use, and events
relating to crime under investigation and to the computer user;

e. evidence indicating the computer user’s state of mind as it relates to the crime
under investigation;

f. evidence of the attachment to the COMPUTER of other storage devices or
similar containers for electronic evidence;

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g. evidence of counter-forensic programs (and associated data) that are designed
to eliminate data from the COMPUTER;

h. evidence of the times the COMPUTER was used;

i. passwords, encryption keys, and other access devices that may be necessary to
access the COMPUTER;

j. documentation and manuals that may be necessary to access the COMPUTER
or to conduct a forensic examination of the COMPUTER;

k. records of or information about lnternet Protocol addresses used by the
COMPUTER;

l. records of or information about the COMPUTER’s lnternet activity, including
firewall logs, caches, browser history and cookies, “bookmarked” or
“favorite” Web pages, search terms that the user entered into any lnternet

search engine, and records of user-typed Web addresses;

m. contextual information necessary to understand the evidence described in this
attachment

As used above, the terms “records” and “information” includes all forms of creation or
storage, including any form of computer or electronic storage (such as hard disks or other media
that can store data); any handrnade form (such as writing); any mechanical form (such as printing
or typing); and any photographic form (such as microfilm, microfiche, prints, slides, negatives,
videotapes, motion pictures, or photocopies).

The term “computer” includes all types of electronic, magnetic, optical, electrochemical,
or other high speed data processing devices performing logical, arithmetic, or storage functions,
including desktop computers, notebook computers, mobile phones, tablets, server computers, and
network hardware.

The term “storage medium” includes any physical object upon which computer data can

be recorded Examples include hard disks, RAM, floppy disks, flash memory, CD-ROMS, and

other magnetic or optical media.

 

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ELECTRONIC EVIDENCE & SEARCH WARRANT TRANSMITTAL FORM

Case No. l:l7~SW-449

I. TYPE 0F LEGAL REQUEST:

l:l ECPA Grand Jury Subpoena and Non-Disclosure
order (§§ 2703(¢)(2), 2705(b))

13 ECPA Court Order (§ 2703(d))

L__l ECPA Content Search (§ 2703(a), (b)(l)(A))
|___| Pen Register/Trap & Trace (§ 3122(a)(l))

l:l Other

Date: JulV 25. 2017

<S)AUSA:___

13 raft/search Warram Hybrid
x (§§ 3122('¢1)(1), 2703(€)(1)(A))
j / Regular Search Warrant (Rule 4l(e)(2)(A))

l:l ESI Search Warrant (Rule 4l(e)(2)(B))
l:l Tracl<ing Device Search Warrant (Rule 41 (e)(2)(C))

 

II.

; l:l Cell Phone Account from Provider
[l Land Line Account from Provider

ij Email Account from Provider
l:l [P Addr`ess from Provider

l:l Real-Time Cell Site Records from Provider
IlI. INVESTIGATIVE OFFENSE: ` `

ll:l Drugs
ij Extortion/Racketeering
ij Fraud
ij Fugitive/Escape
§ [:l lmmigration

|:l Kidnapping

IV. DriLA§iiD Noricn:

j l:l ECPA Non-Disclosure (§§ 2703(d), 2705(b))
E Initial ~ 2 years l:] Renewal

; l___l ECPA Non.-Disclosure for Priority Terrorism
Enterprise Investigations (§§ 2703(d), 2705(b))

§ [:l Initial - 3 years
l:l PRTT Non-Disciosure (§§ 3123(d)(2))
l:l Initial - 5 years |:| Renewal

|:l Renewal

INFORMATION To BE OBTAINED OR ITEMS To BE SEARCHED/SEILED:

l l:l Social Media/Messaging Account from Provider
[] Computer/Laptop/Hard Drive/Cell Phone

| (Rule 4l(e)(2)(A))

l 13 naming Deviee (Ruie 41(€)(2)(0))

l
/ Prernises/Property/Vehicle (Rule 41(e)(2)(A))‘

l l:| Other

1

 

i [:l Sex Offenses

l:l Tax

l [] Terrorism

l:l Theft

: [l Weapons

\/ Other 31 U.S.C. §§5314 & 5322(a); 22 U.S.C.
§ 611 et seq. (FARA); 18 U.S.C. §§ 2, 371,1341,

1343, 1349, 1956, & 1957;311¢1 52 U.s.c. §§
30121(a)(1)(A) & (a)(z)

1

EJ Search Warrant Delayed Notice
(§ 3103a(b), Rule 4l(f)(3))

 

[] Rule 41(e)(2)(A), (B), _o_r (C) Warrants
|:l § 2703(3), (b)(l)(A), L (C)(l)(A) Search@$

39 Days
y Days Extension

Updated: 5/2/ 17

Case 1:17-cr-00201-AB.] Document 340-1 Filed 07/09/18 Page 17 of 66
AO 106 (Rev. 04/10) Application for a Search Warrant

UNITED STATES DlsrRlcr CoURT 10
y for the _, § " ' y "
Eastem District ofVirginia 4'/» l JUL 2 5 20//
In the Matter of the Search of Ultle Seal

(Briejly describe the property to be searched

or identz']§) the person by name and address) Case NO_ 1;17SW449

V\/W

THE PREl\/nsEs LocATED. _ §
-- ALEXANDR¢A, leelNlA 22314 §

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under \
penalty of perjury that I have reason to believe that on the following person or property (identi]j) the person ar describe the
property to be searched and give its locatz on).

 

See` Attachment A
located in the Eastern District of Virginia , there is now concealed (idenri]j) the
person or describe the property to be seized)!

See Attachment B

The basis for the search under Fed. R Crim. P. 4l(c) 1s (cheek one ar more):
l!{evidence of a crime;
l!{ contraband, fruits of crime, or other items illegally possessed;
E{propelty designed for use, intended for use, or used in committing a crirne;
El a person to be arrested or a person who is unlawfully restrained. l

The search is related to a violation of:

Code Section , Ojj`ense Description
See attached Afidavit.

The application is based on these facts:
See attached Aftldavit.

g Continued on the attached sheet.

El Delayed notice of ' days (give exact ending date if more than 30 days: ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

Reviewed by AUSA/SAUSA: Applicant’s sz§!amre

_ 7 § 77 --- Special Agent, FB\

Printed name and title

/s/

Theresa Carroll Buchanan

7 ,)Mt;ueg Maglstrate Judg€

Date: ' 07/25/2017 ' §

 

 

 

Sworn to before me and signed in my presence

  

Judge 's signature

City and State; Alexandria, VA The Honorab|e Theresa C. Buchanan
li’r‘inted'namey and title

 

 

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ATTACHMENT A
The Property to Be Searched

The premises to be searched '(the' “Subject Premises”) is the condominium unit located at

v _ Alexandria, VA 22314, including the storage unit nnmbered .

. as Well as any locked drawers, containers, cabinets, safes,‘ computers, electronic devices, and

storage media (such as hard disks or other media that can store data) found therein

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l.

ATTACHMENT B
Items to Be Seized (or, in the alternative, identified)

Records relating to violations of 31 U.S.C. §§ 5314, 5322(a) (failure to file a report

of foreign bank and financial accounts); 22 U.S.C. § 611, et. seq. (foreign agents registration act);
26 U.S.C. § 7206(1) (filing a false tax return); 18 U.S.C. § 1014 (fraud in connection With the
extension of credit); 18 U.S.C. §§ 1341, 1343, and 1349 (mail fraud, wire fraud, and conspiracy to
commit these offenses); 18 U.S.C. §§ 1956 and 1957 (money laundering and money laundering
conspiracy); 52 U.S.C. §§ 30121(a)(l)(A) and (a)(2) (foreign national contributions); and 18
U.S.C. §§ 371 and 2 (conspiracy, aiding and abetting, and attempt to commit such offenses)
(collectively, the “Subject Offenses”), occurring on or after January l, 2006, including but not

limited to:

a.

 
 
 
 

Any and all financial records for Paul Manafort, Jr., Richard
Gatcs, or companies associated with Paul Manafort, Jr., or
Richard Gates, including but not limited to records relating to any foreign financial
accounts and records relating to payments by or on behalf of any foreign

government, foreign ofticials, foreign entities, foreign persons, or foreign
principals;

Any and all federal and state tax dccumentation, including but not limited to
personal and business tax returns and all associated schedules for Paul Manafort,
Ir., Richard Gates, or companies associated With Manafort or Gates;

Letters, correspondence, emails, or other forms of communications with any
foreign financial institution, or any individual acting as the signatory or controlling
any foreign bank account;

Records relating to efforts by Manafort, Gates, or their affiliated entities to conduct
activities on behalf of, for the benefit of, or at the direction of any foreign
government, foreign ofticials, foreign entities, foreign persons, or foreign
principals, including but not limited to the Party of Regions and Viktor
Yanukovych;

Records relating to, discussing, or documenting Tehnar Investments Limited,
Tiakora Ventures Limited, Lucicle Consultants Limited, Actinet Trading Limited,
Black Sea View Limited, Bletilla Ventures Limited, Evo Holdings Limited, lGlobal

, Highway Limted, Leviathan Advisors Limited, Loav Advisors Limited, Peranova

Holdings Limited, including but not limited to bank records, canceled checks,
money drafts, letters of credit, cashier’s checks, safe deposit records, checkbooks,
and check stubs, duplicates and copies of checks, deposit items, savings passbooks,
wire transfer records, and similar bank and financial account records; v

Physical items purchased through the use of funds from Cypriot accounts, including

but not limited to rugs purchased from , a Bijan Black Titanium
“Royal Way” Watch, and clothing purchased from

 

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g. Evidence relevant to any false statements, pretenses, representations, or material
omissions in connection with communications with the Department of Justice, the
Internal Revenue Service, tax preparers, accountants, or banks;

h. Communications, rccords,\y documents, and other files involving any of the
attendees of the June 9, 2016 meeting at Trump towcr, as well as Aras and Amin
Agalorov;

i. Evidence indicating Manafort’s state of mind as it relates to the crimes under
investigation;

j. The identity of any person(s)_including records that help reveal the whereabouts
of the person(s)-who communicated with Manafort about any matters relating to
activities conducted by Manafort on behalf of, for the benefit of, or at the direction
of any foreign government, foreign officials, foreign entities, foreign persons, or
foreign principals ;

k. Any and all daily planners, logs, calendars, or schedule books relating to Manafort

or Gates.
2. Computers or storage media used as a means to commit the Subject Offenses.
3. F or any computer or storage medium whose seizure is otherwise authorized by

this warrant, and any computer or storage medium that contains or in which is stored records or
information that is otherwise called for by this warrant (hereinafter, “COMPUTER”):

a. evidence of Who used, owned, or controlled the COMPUTER at the time the
things described in this warrant were created, edited, or deleted, such as logs,
registry entries, configuration tiles, saved usernames and passwords, v
documents, browsing history, user profile's, email, email contacts, “cha ,”
instant messaging logs, photographs, and correspondence;

b. evidence of software that would allow others to control the COMPUTER,
such as viruses, Trojan horses, and other forms of malicious sottware, as well
as evidence of the presence or absence of security software designed to detect
malicious software;

c. evidence of the lack of such malicious soi’rware;

d. evidence indicating how and when the computer was accessed or used to
determine the chronological context of computer access, use, and events
relating to crime under investigation and to the computer user;

e. evidence indicating the computer user’s state of mind as it relates to the crime
under investigation;

f, evidence of the attachment to the COMPUTER of other storage devices or
similar containers for electronic evidence;

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g. evidence of counter-forensic programs (and associated data) that are designed
to eliminate data from the COMPUTER;

h. evidence of the times the COMPUTER was used;

i. passwords, encryption keys, and other access devices that may be necessary to
access the COMPUTER;

j. documentation and manuals that may be necessary to access the COMPUTER
y or to conduct a forensic examination of the COMPUTER;

k. records of or information about Internet Protocol addresses used by the
COMPUTER;

l. records of or information about the COMPUTER’$ Internet activity, including
firewall logs, caches, browser history and cookies, “bookmarked” or
“favorite” web pages, search terms that the user entered into any Intemet
search engine, and records of user-typed web addresses;

m. contextual information necessary to understand the evidence described in this
attachment

As used above, the terms “records” and “information” includes all forms of creation or
storage, including any form of computer or electronic storage (such as hard disks or other media
that can store data); any handmade form (such as writing); any mechanical form (such as printing
or typing); and any photographic form (such as microfilm, microfiche, prints, slides, negatives,
videotapes, motion pictures, or photocopies).

The term “computer” includes all types of electronic, magnetic, optical, electrochemical,
or other high speed data processing devices performing logical, arithmetic, or storage functions,
including desktop computers, notebook computers, mobile phones, tablets, server computers, and
network hardware

The term “storage medium” includes any physical object upon Which computer data can
be recorded.. Examples include hard disks, RAM, floppy disks, flash memory, CD-ROMS, and

other magnetic or optical media.

 

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UNITED sTATEs DISTRICT CoURT th ;;]UL 2 5 y[,,./.
, EAsTERN DISTRICT oF vtRGiNIA ` ` '
Alexandria Division ii .
Criminal No. l:17~sw-449
THE PREMISES LocATED AT _

ALEXANDRIA, Filed Under Seal
V]RGINIA 22314
AFF]DAVIT lN SUPPORT OF AN

APPLICATION F()R .A SEARCH WARRANT
- Federal Bureau of lnvestigation (“FBI”), being duly sworn, deposes and
says:
I. Introduction

A. Affiant

l. I am a Special Agent with the FBI and have been since 2015. I am currently
assigned to the investigation being conducted by the Department of Justice Special Counsel. As a
Special Agent of the FBI, I have received training and experience in investigating criminal and
national security matters Prior to my employment with the FBI, I spent seven years in the software
industry and have extensive experience working with computer technology

2. I make this affidavit in support of an application pursuant to Rule 41 of the Federal
Rules of Criminal Procedure for a warrant to search the premises located at _
- Alexandria,‘ Virginia 22314 (the “Subject Premises”), which is described more
particularly in Attachment A, in order to locate and seize (and/or photograph) the items described
in Attachment B. This affidavit is based upon my personal knowledge, my review of documents
and other evidence, my conversations with other law enforcement personnel, and my training and
experience Because this affidavit is being submitted for the limited purpose of establishing

probable cause, it does not include all the facts that I have learned during the course of my

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investigations Where the contents of documents and the statements, and conversations of others
are reported herein, they are reported in substance and in pertinent part, except where otherwise

indicated

B. The Subject Offenses

3. For the reasons detailed below, there is probable cause to believe that the Subject
Premises contain evidence, fruits, and instrumentalities of violations of: 31 U.S.C. §§ 5314,
5322(a) (failure to file a report of foreign bank and financial accounts); 22 U.S.C. § 611, et. seq.
(foreign agents registration act); 26 U.S.C. § 7206(1) (filing a false tax return); 18 U.S.C. § 1014
(fraud in connection with the extension of credit); 18 U.S.C. §§ 1341, 1343, and 1349 (mail haud,
wire fraud, and conspiracy to commit these offenses); 18 U.S.C. §§ 1956 and 1957 (money
laundering and money laundering conspiracy); 52 U.S.C. §§ 30121(a)(1)(A) and (a)(2) (foreign
contribution ban); and 18 U.S.C. §§ 371 and 2 (conspiracy, aiding and abetting, and attempt to
commit such offenses) (collectively, the “Subject Offenses”).

II. Probable Cause

4. As set forth herein, there is probable cause to believe that the Subject Offenses have
been committed by Paul J. Manafort, Jr., the former campaign chairman of Donald Trump for
President, Inc., and others known and unknown Between at least 2006 and 2014, Manafort, a
United States citizen, worked as a lobbyist and political consultant for the Party of Regions, a
Ulcraim`an political party commonly believed to be aligned with Russia. There is probable cause
to believe that Manafort engaged in a scheme to hide income paid on behalf of Ukrainian
politicians and others through foreign bank accounts in Cyprus and elsewhere, to and on behalf of

Manafort and related people and companies.

5. There is also probable cause to believe that Manafort participated in a scheme to
_ wmata

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institution, by providing false information to, and withholding material information from, -

relade to the loans _

6. By way of background concerning Manafort, based on publicly available
information, in March of 2016, Manafort officially joined Donald J. Trump for President, Inc. (the
“Trump Campaign”), the presidential campaign of then candidate Trump, in order to, among other
things, helprmanage the delegate process for the Republican National Convention. ln May of
2016, Manafort became chairman of the Trump Campaign. In June of 2016, Manafort reportedly
became de facto manager for the Trump Carnpaign with the departure of prior campaign manager
Corey Lewandowski. On August 19, 2016, after public reports regarding connections between
Manafort, Ul<raine, and Russia - including an alleged “black ledger” of off-the-book payments
from the Party of Regions to Manafort - Manafort left `his post as chairman of the Trump
Campaign,

7. Portions of the information set forth below (as well as certain additional facts not
relevant herein) were set forth in (1) an affidavit by Special Agent _
_ submitted in support of a warrant to search a storage locker in Alexandria, Virginia
used by Manafort (“Storage Locker Search Warrant”); (2) an affidavit by Special Agent -
_ submitted in support of a search warrant for the email account used b
by Manafort (“Email Search Warrant”); and (3) an affidavit by Special Agent _
_ submitted in support of a warrant to search a hard drive associated with
Manafort’s business entities (“Ha`rd Drive Search Warrant”). On May 27, 2017, the Honorable

Theresa Carroll Buchanan, United States Magistrate Judge for the Eastern District of Virginia,

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issued the Storage Locker Search Warrant upon a finding of probable cause; on June 21, 2017, the
I-Ionorable J ames L. Cott, United States Magistrate Judge for the Southern District of New York,
issued the Email Search Warrant upon a finding of probable cause;'and on june 14, 2017, Chief
Judge Beryl Howell of the District of the District of Columbia issued the Hard Drive Search
Warrant upon a finding of probable cause. Copies of the search warrant affidavits are attached
hereto as Attachments C-E, respectively

A. Manafort’s Work for Ukraine

7 8. The information contained herein is based on public records; bank records and
reports; Davis Manafort records; tax filings by Manafort and Richard W. Gates, IJI, a Davis
Manafort employee; the June 2017 filing by DMP International, LLC, Manafort, and Gates under
the Foreign Agents Registration Act (FARA); and statements by Manafort and Gates to the FBI,
y among other things

9. Manafort and Gates have been employed for many years through Davis Manafort
and related entities as lobbyists and political consultants working both in the United States and
internationally Beginning in or about 2006 and at least until 2014, Manafort provided political
and policy services to the Ukrainian Party of Regions, including Viktor Yanukovych, head of the
Party of Regions and the President of Ukraine from 2010 to 2014. Gates told the F.Bl in an
interview in July 2014 (“the Gates lnterview”) that he Was hired by Manafort in 2006 and worked
on Ukrainian election and policy advice, .up to the time of the interview. Gates advised that in
2010, he and Manafort were in Ukraine for over two months leading up to the election that brought
Yanukovych to power. Manafort told the FBI in a`n interview also in July 2014 (“the Manafort
lnterview”) that he performed work for the Party of Regions, as well as significant work for Rinat
Akhmetov, a financial supporter of President Yanukovych, and for Oleg Deripaska, a Russian

o'ligarch.

 

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10. Based on reporting horn multiple sources, the FBI believes that Yanukovych’s
government engaged in systematic public corruption The same sources report that corrupt
government officials and their allies in the business community during Yanukovych’s presidency
looted Ukraine’s public coffers of millions of dollars and funneled those assets to foreign bank
accounts to hide the embezzlement The current government of Ukraine has sought the assistance
of the United States and Cyprus to locate and recover these misappropriated assets. Yanukovych,
who fled to Russia in 2014, is currently wanted in Ukraine for numerous criminal violations,
including the embezzlement and misappropriation of public property ln late June 2017, media
outlets such as Bloomberg reported that Ukrainian prosecutors had uncovered no evidence of illicit
payments to Manafort as part of their investigation into suspected criminal conduct by former
Ukrainian officials In a statement available on its public website dated June 29, 2017, Ukraine’s
National Anti-Corruption Bureau of Ukraine (NABU) provided the following context by
announcing that it “did not conduct an official investigation regarding Paul Manafort.» He has
never been a Ukrainian official, and therefore cannot commit corruption acts, according to the
Ukrainian laws. An assessment of the actions of the abovemcntioned person should be made by
the competent authorities of other countries, whose jurisdiction extends to the investigation of the
facts of probable offenses.” l

1. Payments from Cypriot Accounts to and for Manafort

11. From` in or about at least 2008 to at least 2014, payments nom bank accounts in
Cyprus - nominally owned by foreign companies ~ were used to make payments to (a) United
States corporate and personal bank accounts controlled by Manafort or Gates and (b) United States

vendors for services provided to Manafort or Gates. During this time period, tens of millions of

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dollars nom these foreign accounts were paid “directly”1 and indirectly to Manafort, Gates, and

Manafort-related entities,

12.

Based on the evidence set forth more fully below, there is probable cause to believe

that Manafort and Gates maintained Cypriot bank accounts held in the names of numerous entities,

which include those listed in the chart below:

 

 

 

 

 

 

 

 

 

Company Bank N amc Account # Transaction Example
` On or about June 27 ,
Telmar Bank of 2014, $250,000 was sent
Investments Cyprus PCL _ to an account in the name
Limited Ltd of DMP lnternational,
’ LLC at HSBC Bank.
On or about September 2,
2010, $1 million was sent
to an account in the maine
Of Global Sites LLC at
Yiakora Bank of Wachovia q Bank.
Ventures Cyprus PCL ) _ On or about June 4, 2008,
Limited Ltd ' $8 million was sent to an
account in the name of
Jesand lnve_stment
Corporation at First
Republic Bank.
Cyprus On or about November 9,
L . Popularl Bank 2012, $300,000 was sent
ucicle . .
Consultants (Previously _ to an account in the name
Limith Marfin of DMP International,
Popular LLC at JPMorganChase ~
Bank) Bank. ~
- Cyprus On or about August 1
Actinet ;P°P“l.ar Bank 2012, $70,000 was sent to
. (Previously . ~
Tradmg Marfm _ an account in the name of
Limited Popular DMP lnternational, LLC
Bank) at JPMorganChase Bank.

 

 

1 The term “directly” is used to differentiate the “indirect” Manafort payments made to vendors
that provided services to Manafort Wires from Cypriot accounts that were sent to Davis Manafort
would also at various times be passed through more than one United States account affiliated with
Manafort before being used to pay for Davis Manafort expenses as well as other items.

 

 

 

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Company Bank Name , Account # Transaction Example
Cyprus On or about December
Popular Bank 21, 2011, $1 million was
Black Sea (Previously _ sent to an account in the
View Lirnited Marfin name of Paul J Manafort
Popular and
Bank) at First Republic Bank.
Cyprus On or about April 10,
. Popular Bank 2012, $900,000 was sent
Bletilla . .
Ventures (PI`CVIOU.SIY _ to 311 account 111 the name
Limited Marfm of DMP International,
Popular LLC at JPMorganChase
Bank) Bank.
Cyprus On or about January 30,
Popular Bank
. . 2009, S70,000 was sent to
Evo Holdings (Prevlously .
L. -t d M f _ nn nnnnnn nnn nnnn nn
m e Poa;uln;r , Davis Manafort Paitners,
Bank) Inc. at Wachovia Bank.
Cyprus On or about December
Popular Bank 23, 2009, $500,000 was
Global . .
Hi hwa (Prevl()u$].y _ Sent to an account m the
` Li;itedy Marfin name of Davis Manafort
Popular Paitners, Inc; at ~
Bank) Wachovia Bank.
Cyprus On or about May 27,/
. Popular Bank 2011, $258,000 was sent
Leviathan . .
Advisors (PI'CVIOUSly _ lfO all aCCOl.ll'lt 111 the flame
limited Marfin of Davis Manafort
Popular Partners, Inc. at First
Bank) Repub]ic Bank.
Cyprus On or about October 7,
L Popular Bank 2010, $120,000 was sent
oav . .
Advisors (Previously _ to an account in the name
. . Marfin of Paul J Manafort and
Limited
g Popular t
` Bank) Wachovia Bank.
Qiprus On or about June 27,
. Popular Bank 2012, $650,000 was sent
Lucicle . . _
Consultants (Previously _ to an account m the name
Limith Marfin of DMP International,
Popular LLC at JPMorganChase
Bank) `Bank.
7

 

 

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Transaction Example

 

 

 

 

 

 

 

 

 

 

Company Bank Name Account #
' Cyprus On or about February 1,
P Popular Bank 2012, $1.5 million was
eranova . 1 .
Holdings (Previously _ sent to an account in the
Limith Marfin name of DMP
Popular International, LLC at
Bank) First Republic Bank. ,
On or about January 16,
Telmar Eurobank 2014, $500,000 was sent
Investments C ms Ltd _ to an account in the name
Lirnited yp of DMP International,
` LLC at HSBC Bank.
‘ On or about April 8, 2013,
Actinet Heuenic Bank $200,000. was sent to an
Trading PCL Ltd _ account in the name of
Limited . , DMP International, LLC 1
at HSBC Bank.
` ` On or about March 1,
Bletilla Henenic Bank 2013, $300,000 was sent
l Ventures PCL Ltd _ to an account in the name
Limited of Symthson LLC at
JPMorganChase Bank.
. ` On or about February 15,
Lucicle Heuenic Bank 2013, $500,000 was sent
Consultants PCL Ltd _ to an account in the name
Limited ' of Symthson LLC at
.TPMorganChase Bank.
13. The FBI has obtained bank records that evidence that Manafort controlled and/or

held executive positions at the following United States entities, which received tens of millions of

l dollars from the above-listed financial accounts in Cyprus between at least 2008 to at least 2014:

(1) Davis Manafort Partners, Inc.;
(2) DMP International, LLC;

(3) Globa;l Sites LLC; and

(4) Jesand lnvestment Corporationz.

 

2 Jesand lnvestment Corporation was incorporated in Virginia in 2002 and dissolved in 2013, It
lists its addresses as Manafort’s addresses in Alexandria, Virginia and Palm Beach Gardens,

FlOrida~ - the name “J@Sand” is _

 

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Bank records also reflect that Gates held signature authority over the account in the name of
Symthson LLC3.

14. In addition, bank records evidence that millions of dollars were wired directly from
the Cypriot accounts to pay vendors for goods and services provided to and for Manafort For
instance, funds from these foreign accounts were used to rent a villa in Italy at which the Manaforts

vacationed (over $49,000); to pay for rugs from an Alexandria store called _

,(over $360,000); to pay for landscaping services for the Manaforts (over $395,000); and to pay v

two separate clothiers _or clothing purchased by Manafort

(over $400,000 and $360,000 respectively). The records for one of the clothiers _
- evidence that Manafort was aware of and controlled these foreign wire payments, as he noted to
the vendor in two spring 2011 emails that the vendor would be paid shortly from the Leviathan
Holdings Cypriot account, noted above.

15 . Manafort and Gates have both told the FBI in interviews in 2014 that they Were
paid for their work for the Ukrainian Party of Regions through Cypriot bank accounts In the
Manafort lnterview, Manafort claimed he did not know who specifically set up the Cypriot
accounts, but they were vehicles used to pay him for public political services Manafort
specifically acknowledged that any money flowing from the accounts held in the name of Global
Highway Ltd. and Leviathan (two'entities listed above) would have been money he earned ii'om
his services In the Gates Interview, Gates admitted he was directed to open accounts in Cyprus
by President Yanuko_vych’s Chief of Staff Boris Kolesnikov. He Was told it was easier for them

to be paid from one Cyprus account to another Cyprus account Gates said that various oligarchs

 

3 Smythson LLC was incorporated in Delaware in 2008. Note that bank accounts for this company
were opened under the name “Symthson,” using addresses listed for Manafort in other of his

companies

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would chip in to pay them for their consulting work. Gates identified Lucicle, Bletilla, Leviathan,
and Global Endeavor (among others) as accounts opened to receive such payments

16. ln addition, in 2014 Manafort wrote to the First Republic Bank, a United States
financial institution, to object to the bank’s determination to close all the Manafort-related
accounts based on its anti-money laundering policies and concerns about incoming international
wires. In his correspondence to the bank, Manafort admitted he was paid by Ukraine but he
claimed that the money he received from Ukraine was for “very public consulting services” from
“legitimate activities that were totally legal.” Manafort also wrote the bank that he had “[n]o
interaction with oligarchs for business.” However, in the Manafort Interview conducted that same
year, Manafort told the FBI that he did significant work for Deripaska, a Russian oligarch. And
in March 2017, iii response to press reports concerning a written annual contract between Manafort
and Deripaska, Manafort publicly confirmed that he had provided investment consulting services
to Deripaska interests _ also told the FBI that
Deripaska helped fund Manafort’s Ukrairiian work when it began in 2005-06.4 And the 2010 tax
returns for a company jointly owned by Manafort and his wife - John Hannah, LLC5 ~ reveals a
$10,000,000 loan to the*company from a “Russian lender.” A court-authorized search in May

2017 of a storage locker in Virginia used by Manafort revealed documents that show that the

 

 

5 John Hannah, LLC was located at the same address as Davis Manafort, Inc,

Alexandria, Virginia? 22314, -and received mail there. nThe company also
received mail at the Manafort home in Florida. - the name of the company is derived from v
the respective middle names of Manafort and Gates. Manafort declared on his tax returns,
discussed below, income from John Hannah, LLC. '

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identity of the Russian lender was “Derapaska.” Finally, in the Gates lnterview, Gates admitted
that Manafort met with another oligarch, _ to discuss a New York real estate
transaction they would undertake together and to pitch other ideas. ln the Manafort lnterview,
Manafort also admitted approaching - to propose the New York deal, which according to
business records publicly filed in a New York litigation Was initiated in 2008.

2. Manafort and Gates Tax Returns

17. There is probable cause to believe that Manafort failed to properly disclose to the
United States government his relationship to the Ukrainian Party of Regions, the income he
received (directly or indirectly) as a result of his work for that party, and the existence of foreign
accounts in which he held a financial interest (and into which payments from Ukrairiian politicians
were deposited, as discussed above).

18. . Pursuant to a tax order from the Eastern District of Virginia (Buchanan, J.) dated
April 14, 2017, the FBI has obtained and reviewed, among others, the tax returns for Manafort
and Gates for 2009-2014. In all of the tax returns, Manafort and Gates submitted a Schedule B
form, which required them to declare whether they have “an interest in or a signature or other
authority over a financial account in a foreign country, such as a bank account, securities
account, or other financial accoun .” Each year, Manafort and Gates declared “No.” That same
form also contained a cross-reference to the requirement to file a Report of Foreign Bank and
Financial Accounts (FBAR) to report overseas financial interests or signature authority An
FBAR filing is required, on a yearly basis, if a United States person has a financial interest in or
signatory authority over at least one financial account located outside the United States and at
least $10,000 in aggregate value in foreign accounts at any time during the calendar year. As

discussed above, there is probable cause `to believe that Manafort and Gates had a financial

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interest, in excess of $10,000, in various accounts in Cyprus in at least 2008-14. A review of
data from the Financial Crimes Enforcement Network (comrnonly known as FinCEN) shows
that Manafort and Gates have not filed an FBAR for at least the years 2008 to the present.

19. A search of the United States Department of lustice database of all agents currently
or previously registered under FARA, conducted in July 2017, also discloses that Manafort, Gates,
and their affiliated entities, including Davis Manafort, failed to register as agents of a foreign
government until Iune 27, 2017.6 As long-time lobbyists, Manafort and Gates would know about
the FARA requirements lndeed, in email communications between Gates and_
(a United States lobbying and public affairs firm) concerning joint Ukraine ~work, Gates '
demonstrated that he was clearly aware in 2012 of FARA filing rules.

20. In addition, the foreign source income listed in the tax returns for Manafort does
not appear to account for the above distributions to or from the Cypriot accounts on his behalf.
For instance, the 2009 Manafort tax return indicates $17,736 in gross foreign source income; in
2010, $42,789; in 2011, $165,871; in 2012, $129,777; in 2013, $_38,375; and in 2014, $39,468.

21, The bank records, however, reveal the following:

¢ In 2008, the Cypriot accounts transferred at least $3,500~,000 to accounts in the joint
names of Paul and _ Manafort and transferred at least $9,000,000 to
accounts of United States entities affiliated with Manafort.

¢' In 2009, the Cypriot accounts transferred at least $1,500,000 to accounts in the joint
names of Paul and - Manafort, transferred at least $35,000 to accounts in

the names of Manafort’s relatives, transferred at least $3,000,000 to accounts of

 

6 The database is publicly available at https://www.fara.gov/.

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United States entities affiliated with Manafort, and transferred at least $200,000 to
accounts of third parties as payment for the benefit of Manafort.

v In 2010, the Cypriot accounts transferred at least $2,000,000 to accounts in the joint
names of Paul and - Manafort, transferred at least $80,000 to accounts in
the names of Manafort’srelatives, transferred at least $6,000,000 to United States
entities affiliated with Manafort, and transferred at least $600,000 to accounts of
third parties as payment for the benefit of Manafort.

» In 2011, the Cypriot accounts transferred at least $1,800,000 to an account in the
joint names of Paul and - Manafort, transferred at least $30,000 to an
account in the name of a Manafort relative, transferred at least $3,000,000 to an
account of a United States entity affiliated with Manafort, and transferred at least
$500,000 to accounts of third parties as payment for the benefit of Manafort.

~ In 2012, the Cypriot accounts transferred at least $200,000 to an account in the joint
names of Paul and - Manafort, transferred at least $8,500,000 to accounts
of United States entities affiliated with Manafort, and transferred at least
$1,000,000 to accounts of third parties as payment for the benefit of Manafort.

¢ In 2013, the Cypriot accounts transferred at least $2,500,000 to accounts of United
States entities affiliated with Manafort and transferred at least $1,000,000 to
accounts ofihad parties as payinent for the benefit or Manafort.

~ ]`n 2014, the Cypriot accounts transferred at least $5,000,000 to accounts of United
States entities affiliated with Manafort.

22. There appears to be no legitimate business reason for these transactions, which

appear to pass hinds from a Ukrainian political party through more than one Cypriot bank

is

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account; have payments made directly to United States vendors from the Cypriot accounts; and
pass money brought onshore from Cyprus through multiple United States accounts. Based on
my training and experience, these transactions evidence in my view the crimes of tax evasion
and money laundering to conceal the origins of the funds paid to Manafort and Gates.

B. Manafort’s Loan Applications

23. There is also probable cause to believe that Manafort made misrepresentations and

material omissions for the purpose of securing loans from_
_ and is a Federal Deposit Insurance Corporation member bank.

The information contained herein is based on information set forth in the attached -
Affidavit, which is based on public records, financial records and reports, court records, and
information provided by other law enforcement personnel, among other things.

24. Based on court filings and records obtained from Genesis Capital Corporation
(“Genesis”), in February 2016, Genesis, through an affiliated entity, extended two loans to MC
Brooldyn Holdings LLC (“MC Brooklyn Holdings”) totaling approximately $5.3 million MC
Brooklyn Holdings is the holding company for a townhouse located at _, Brooklyn,
New York 11231 (“Brooklyn Property”). MC Brooklyn Holdings’ members are Manafort, -
_
- Manafort also personally guaranteed the $5.3 million loans from Genesis.

25 . Additionally, based on documents obtained from- in February 2016, Genesis

funded a refinance and construction loan for approximately $3.7 million7 secured by a property

located _Los Angeles, California (“Los Angeles Propeity”). The Los
Angeles 'Property was held by_ LLC, a company in which (as of February

2016) Manafort and- held equal interest

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26. Both sets of Genesis loans went into default in 2016. As a consequence; on
September 20, 2016, a Genesis affiliate filed an action in New York Supreme Court, Kings County
(the “Foreclosure Action”), seeking to foreclose the loans encumbering the Brooklyn Property.
After its initiation, the Foreclosure Action was adjourned several times as Manafort and -
sought refinancing

27, As explained in the- Affidavit attached hereto, based on documents obtained
from- beginning in 2016, Manafort began negotiations with- for the extension of loans
for several purposes, including to refinance the Genesis loans - that were in default. These
negotiations ultimately resulted in- extending two sets of loans to Manafort-linked entities
in the total amount of approximately $16 million One loan, for approximately $9.5 million
(enough to cover the outstanding balance on the Genesis loan secured by the Los Angeles Property)
was extended to a company called Suymmerbreeze LLC that was owned by _
(hereinafter, the ‘- Summerbreeze Loan”). A second set of - loans, in the amount of
$6.5 rriillion, was secured by the Brooklyn Property and was used to refinance the Genesis loans
secured by that property 1(hereinafter, “the - Brooklyn Property Loan”). That refinancing
ultimately terminated the Genesis Foreclosure Action. l

28. As described below, Manafort made several materially inconsistent representations
during the process of negotiating for the- loans, including by making substantially different

representations about his income and net worth on different loan applications (signed and
unsigned) within a three~month period And _

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1. Extension of Refinancing Loan
29, According to documents obtained from- on or about July 27, 2016, Manafort
moi With _
to discuss a proposed loan from- to refinance the Genesis loan secured by the Los Angeles

Property (“the Genesis Los Angeles Loan”)§ - and other members of the- loan committee

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33. On or about September S, 2016, Manafort’s attorney transmitted to- a demand

letter to _ sent by a debt collector, which demanded payoff for missed June

and July payments on the Genesis Los Angeles Loan, including late fees and over $2,000 daily
interest on the late fees. - forwarded this document to _
Writing: “Just a fyi - looks like these guys are in default to Genesis ....... ” - Wrote back:

“It is what it is. Let’s send it off to - and have it be part of the file. _

2. Extension of Additional Reiinancing Loan Despite Manafort’s Initial
$1 Million Understaternent of Original Loan Amount

34. Based on documents obtained 'from- in late August 2016, at approximately

the time when Manafort officially left his position With the Trump Carnpaign, the company

Summerbreeze LLC was formed, with_ as the sole member.

- records show that Summerbreeze LLC then took out a loan from a subsidiary of the real

estate investment company_ in the amount of approximately $3.5 million,

secured by real estate in Water Mill, New York (hereinafter, the ‘- Loan”).

35.

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37. On Septernber 27, 2016, _ copies of mortgage
statements showing that the - Loan Was for approximately $3.5 million _

replied to all recipients: “What the hell he just took the loan out at the end

of August how can he be $l,000,000 off!” - replied, _

‘He'is so in debt.”

so _ ppi agents interviewed-

who stated in substance, among other things, as follows:

a. She discussed the loan With_in the course of

her WOl'k 011 the 102111, and - expressed to her on several occasions that the

proposed Manafort loan was a bad loan.
b. There were several issues with the proposed Manafort loan. For example, when
she ran Manafort’s credit report in August of 2016, she saw that his credit had

dropped significantly compared to his last credit report in June, due to an

 

 

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approximately $300,000 debt Manafort had incurred on his American Express card
(which Manafort claimed was because he had allowed a friend to use it to buy New
York Yankees season tickets). Additionally, a number of Manafort’s assets turned
out to be,less valuable than expected. Two pieces of real estate considered as
collateral were each appraised at overk $1 million less than the expected value, and
an investment account of Manafort’s, which - had believed would /have a
balance of $10 million, had a lower effective value because Manafort had taken out
a $5 million line of credit against it. - also considered it unusual to approve
a construction loan (as the proposed Manafort loan was planned to be) for
borrowers who, like Manafort and -1aeked construction experience She also
considered it unusual that - was willing to fund the loan despite Manafort’s

and - default to Genesis Capital.

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to

40. In early October 2016, before Manafort and - closed on the originally
contemplated refinancing of the Genesis Los Angeles Loan, documents provided by_ show
that Manafort sought a second loan from- that would refinance the Genesis loans secured by
the Brooklyn Property, which were the subject of Genesis’s Foreclosure Action filed in September
2016,y

3. Manafort’s Conflicting Representations in His Loan Applications

41.» During the course of applying and negotiating for lending from- Manafort
made a series of conflicting representations in his loan applications about his income and net worth.
Documents produced by_ show that on August 11, 2016, Manafort`digitally signed a loan
application for the proposed Los Angeles Property refinancing that listed his income as $275,000

` per month and his personal net worth as $17,051,676.17.

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42. Two loans applications for the- Summerbreeze Loan were also produced by
- unsigned by Manafort but dated October 26, 2016, Both listed Manafort’s income as
approximately $224,846 per month. One listed the net Worth of Manafort and his wife, as co-
borrowers, as $21,376,7.22.13, and the other listed their net worth as $6 million lower, or
$15,376,722.13.

43. Two days after the date of these applications, on or about October 28, 2016,
Manafort and his wife signed a loan application for the TFSB Summerbreeze Loan listing
Manafort’s income as $100,652 per month and their net worth as co~borrowers as $34,685,418.13.

44. On or about three days after that application was submitted, or November 1, 2016,
Manafort and his wife signed a loan application for the - Brooklyn Property Loan, which
listed Manafort’s income as $224,846 per month and their net worth as co~borrowers as
$14,994,402. 13.

45 . Following these representations, the - .Summerbreeze Loan closed on
November 16, 2016. Of the total loan amount of $9,5 million, $7 million was underwritten by
_ The final - credit approval memorandum produced by -
did not mention the Los Angeles Property Loan default or the Foreclosure Action against

Manafort, and it assigned the - Summerbreeze Loan a risk factor of “4 (Average).” -

46. On January 17, 2017, the- Brooklyn Property Loan was funded, resulting in

$6.5 million being paid for the benefit of Manafort and his wife. The Genesis Foreclosure Action

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was terminated by stipulation executed the next day. The final -credit approval memorandum

produced by- did not mention the default on the Genesis loans or the Foreclosure Action and

assigned the- Brooklyn Property Loan a risk factor of “4 (Average).”

 

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D. The Subject Premises

60. Law enforcement databases and mortgage records show that Manafort maintains ~
several residences, including a residence at the Subject Premises. The Subject Premises is located
in a complex called _ Appraisal and title insurance documentation
obtained from- indicate that the Subject Premises is a three-bedroom condominium unit with
2779 square feet of living space and includes two parking spaces numbered - and - and
one storage unit numbered - A law enforcement database shows that the property Was
purchased by Paul and - Manafort on or about January 15, 2015 for $2,'l00,000 in cash.

61. y In email communications in July 2016, bank officials at _
who Were working to approve loan to Manafort~related entities (as described above) characterized
the Subject Premises as Manafort’s “primary residence.” In subsequent paperwork -
identified Manafort’s residence in Florida as his primary residence on the basis of Manafort’s use
of that address for income tax purposes.

62. ln several voluntary meetings with the F.BI, -, an individual who
works for Manafort, confirmed that Manafort maintains a residence at the Subject Premises.
- informed the FBI that he previously worked for Davis Manafort and that in late 2011 he
began working more directly for Manafort. He currently receives his salary from Steain Mountain,
LLC, which is another business operated by Manafort. - advised that he performs a variety

of functions for Manafort and his companies, las directed by Manafort.

28

 

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63. In spring of 2017, - advised the FBI that in approximately 2015, at the
direction of Manafort, _ moved boxes of office files for Manafort’s businesses from one
smaller storage unit at 370 Holland Lane, Alexandria, Virginia, to a larger storage unit (Unit 3013)
at the same storage facility. _ advised that he personally moved the office files into Unit
3013. A search of Unit 3013 at 370 Holland Lane was conducted in late May of 2017 pursuant to
a warrant issued by Magistrate Judge Theresa Carroll Buchanan. That search confirmed the
information- provided the FBI. Among the items that the FBI identified in that search Were
tax returns for Manafort and various Manafort-related business entities, documents related to
Ukraine and the Party of Regions, and various financial documents A copy of that search warrant
affidavit is‘attached hereto.

‘ 64. _ told the FBI that Manafort moved from his former residence on Mount
Vernon Circle (also in Alexandria, VA) to the Subject Premises in or around May of 2015, and
that he -personally helped Manafort move belongings from the former residence to the
Subject Premises and to the aforementioned storage locker on 370 Holland Lane. _ also
advised that the Subject Premises includes its own separate locked storage unit, which is used to
store, among other things, miscellaneous items of furniture The last time - accessed the
storage unit was in March or April 2017,

65. - indicated that Manafort used his home to do business and maintained
records of his businesses at his home. For instance, some of the material that was moved to Unit
3013 included files from Manafort’s former residence on Mount Vernon Circle in Alexandria,
Virginia. - indicated that Manafort Was using his former residence as an office at the time.
- also advised the EBI that company documentation Was being kept at the Subject

Premises. In particular, - informed the FBI that in late April or early May of 2017 , _

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- told him that she and Manafort were reorganizing their lives and as part of that process
were getting documents ready for meetings with their attorney. At the same time, _ saw
miscellaneous documents on_a coffee table at the Subject Premises, including but not limited to
Federal Election Commission documents

66. - also informed the FBI that one of the rooms in the Subject Premises is used
as an office, and that -.has seen business records in that office, including in 'one or two
drawers. Among the records maintained in the drawers were records related to Manafort’s various
business entities,' including John Hannah LLC (as discussed in Paragraph 16 above) and, he
believes, Dl\/[P International,y LLC.

67. ln an interview with theiFBI on July 19, 2017, - indicated that the last time
he was inside the Subject Premises was on or about July 5, 2017, when he picked up Manafort’s
mail and shipped a suit to another Manafort residence at Manafort’s request; and the last time he

was at the Subject Premises was on or about July 11, 2017, when he took _ to

the airport

68. lt is reasonable to believe“that business records related to Manafort’s work in
Ukraine, including historical records, would be maintained among the business files kept .at the
'Subject Premises, including the files kept for use in consulting with counsel. On Iune 27, 2017,
Manafort, Gates, and DMP Intemational, LLC registered under FARA for the years 2012-2014 as
a result of their political work in Ukraine, having failed to do so previously This registration
followed a series of communications between Manafort, his counsel, and officials in the United
States Department of Justice’s National Security Division (which administers the FARA
registration process) about the FARA requirements At least one of these communications, dated

September 13, 2016, was directed to Manafort at ‘_” in Alexandria, VA,

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i.e., the Subject Premises. lt is therefore reasonable to believe that records relating to this filing
' (and thus related to Manafort’s failure to file previously) are maintained at the Subject Premises,
including records of Manafort’s work on behalf of the Party of Regions and payments received
from them. Among other things, in.the Gates Interview, Gates told the FBI that Manafort and he
used “standard Eiiglish” common law contracts for their Ukrainian work and would invoice the
customer for payment.9
69. These records are particularly valuable since counsel for Manafort has informed the
United States Department of Justice that at least as of November 23, 2016, DMP International, 1
LLC purports to have an “Email Retention Policy” Which results iii its not retaining
“communications beyond thirty days.” ln spite of its title, the policy purports to cover not just
email, but “infcrmation that is either stored or shared via electronic mail or instant messaging
technologies, and documentation residing on any computer or server.” The policy also purports
to provide that “[e] ach employee may at its [sic] discretion archive certain electronic information
that pertains to the company’s business or mission,” but the the employee “must do so with the
knowledge that all emails, electronic documents and other electronic material shall be deleted from v
corporate equipment, including but not limited to, computers, servers, and mobile devices, within
30 days of possession of the information.”
70. There is also probable cause to beheve that the Subject Premises contains records
related to Manafort’s efforts to secure loans from- on the basis o`f inconsistent representations

about his income and net worth, as described above. Records obtained from- show that in

 

9 ln contrast, in their lune 27, 2017, FARA filings, Gates, Manafort, and DMP lnternational, LLC
indicated that there was no formal written contract of exchange of correspondence between the
parties. ln such circumstances, the FARA form requires the filer to “give a complete description”
of the terms and conditions of the oral agreement or understanding, its duration, the fees and
expenses, if any, to be received.” The June 2017 filings provide none of that information

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approximately August 2016, Manafort submitted bank statements for two accounts at Citi to-
in connection with his application for lending One of the two bank statements submitted to -
is addressed to _ at the address of the Subject Premises. Bank records also show
1 that beginning in December 2016, bank statements for the other account were directed to the same
address. Accordingly, there is probable cause to believe that bank statements and other
documentation related to those accounts, which formed part of the - consideration of
Manafort’s request for lending, could be found at the Subject Premises.

71. Additionally, there is probable cause to believe that other financial records relevant
to the Subject Offenses Will be found at the Subject Premises. Manafort’s prior residence in
Alexandria, _, was listed as the address of record for a number of
accounts, including accounts at First Republic Bank in Chicago that were closed in 2014 following
anti-money laundering concerns by the .bank, as discussed in Paragraph 16 above. From my
training and experience, l am aware that individuals and businesses often retain copies of financial
records for several years, including in connection with tax filing obligations Accordingly, and
given the fact that Manafort and his wife moved to the Subject Premises nom his prior residence
in the same city in approximately May of 2015, it is reasonable to believe that financial records
sent to his prior residence may be found at the Subject Premises. Additionally, a mail cover
conducted by the FBI, involving the review of the outside cover of United States Pcstal Service
(USPS) mail addressed to the Subject Premises, reveals that during the period between
approximately Ju`ne 13, 2017 and July 12, 2017, mail to the Subject Premises included, among
other things, a first class mailing from_ mail from M&T Bank,
and a statement from American Express addressed to both Paul Manafort and “Davis Manafort

Part,” which I believe to refer to Davis Manafort Partners.

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72. Further, there is probable cause to believe that the Subject Premises contains
physical evidence in the form of_ physical items purchased through the use of funds nom foreign
bank accounts, including from the Cypriot bank accounts described above. For instance, given
that Manafort lives at the premises, there is probable cause to believe that men’s clothing and
accessories purchased at one or both of the clothing vendors and paid for by Wire transfers from
various Cyprus accounts, as referenced in Paragraph 14 above, will be found at the Subject
premises Bank records and records obtained from the clothiers show that between 2009 and 2012,
Manafort purchased more than approximately $760,000 in merchandise from these two clothiers
using funds wired from several of the Cypriot accounts. Purchases included multiple suits and
jackets.in excess of $10,000 and at least one limited edition Bijan Black Titanium “Royal Way”
watch, purchased for $21,000. Between approximately 2009 and spring 2015, invoices for
Manafort’s purchases from_ were sent to Manafort’s previous Alexandria residence
on _; more recently, invoices have been sent to Manafort at the Subject
Premises. According to - there are two closets at the Subject Premises that contain clothing
and jewelry.

73. There is also reason to believe that rugs purchased with funds nom the Cypriot
accounts would be found at the Subject Premises. Wire transfers totaling more than $360,000
were sent nom Cypriot accounts directly to _, a carpet store located in
Alexandria, Virginia, near to the Subject Premises. The funds were used to pay for rugs acquired
by Manafort. In an interview With the FBl, one of the owners __ advised that
Manafort brought several of his purchases back to the store for cleaning, which remain at the store.

lt is reasonable to believe that the remaining rugs purchased by Manafort with funds funneled

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through the Cypriot accounts will be found at the Subject Premises (to include Premises’ storage
unit). ii

74. Although I submit that there is probable cause to seize the aforementioned rugs and
clothing as units of the Subject Offenses, the FBI does not intend to seize those items Rather,
upon an authorized search of the Subject Premises, the F'BI intends to identify and photograph
those items.

Computers, Electronic Storage, and Forensic Analysis

75 . As described in Attachment B, this application seeks permission to search for
records that might be found on the Subject Premises, in whatever form they are found. One form
in which the records might be found is data stored on a computer’s hard drive or other storage
4 media.10 Thus, the warrant applied for would authorize the seizure of electronic storage media or,
potentially, the copying of electronically stored inforrnation, all under Rule 41(e)(2)(B).

76. In a July 2017 interview, - advised the FBI that there is a Mac desktop
computer on the desk in the office at the Subject Premises, which is used by Manafort. For a
variety of reasons, copies of historical records and current records are also frequently stored on
external hard drives, thumb drives, and magnetic disks. There is reasonable cause to believe such
media may be contained in and among records of Manafort’s business and financial activity at the
Subject Premises. FBI interviews of - further confirm that Manafort has made widespread
use of electronic media in the course of his business activity, For example, _ told the FBI
that Manafort had a drawer full of phones and electronic equipment at his old residence in Mount

Vernon Square. At one point, Manafort gave - a bag of computers and directed - to

 

t w A storage medium is any physical object upon which computer data can be recorded. Examples
include hard disks, RAM, iloppy disks, flash memory, CD~ROMS, and other magnetic or optical

media.

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have the drives wiped before giving them to charity. Manafort also_ gave- several additional
devices, both laptops and cellular phones.

77 . I submit that there is probable cause to believe that evidence of the Subject Offenses
may be found on storage media located at the Subject Premises, including but not limited to a
desktop computer, for at least the following reasons:

a. Based on my knowledge, training, and experience, I know that computer files or
remnants of such files can be recovered months or even years after they have been
downloaded onto a storage medium, deleted, or viewed via the Internet.
Electronic' files downloaded to a storage medium can be stored for years at little
or no cost. Even when files have been deleted, they can be recovered months or "
years later using forensic tools. This is so because when a person “deletes” a file
on a computer, the data contained in the file does not actually disappear; rather,
that data remains on the storage medium until it is overwritten by new data. ‘

b. Therefore deleted tiles, or remnants of deleted files, may reside in free space or
slack space - that is, in space on the storage medium that is not currently being used
by an active file ¢for long periods of time before they are overwritten. ln addition, ,
a computer’s operating system may also keep a record of deleted data in a “swap”
or “recovery” iile.

c. Wholly apart from user-generated files, computer,storage media ~ in particular,

-computers’ internal hard drives - contain electronic evidence of how a computer
has been used, what it has been used for, and who has used it. To give a few
examples, this forensic evidence can take the form of operating system

configurations, artifacts from operating system or application operation, file system

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78.

data structures, and virtual memory “swap” or paging files. Computer users
typically do not erase or delete this evidence, because special software is typically
required for that task. However, it is technically possible to delete this information

Forensic evidence As further described in Attachment B, this application seeks

permission to locate not only computer tiles that might serve as direct evidence of the crimes

described on the warrant, but also for forensic electronic evidence that establishes how computers

were used, the purpose of their use, who used them, and when. There is probable cause to believe

that this forensic electronic evidence will be on any storage medium in the Subject Premises

because:

a. Data on the storage medium can provide evidence of a file that was once on the

storage medium but has since been deleted or edited, or of a deleted portion of a
file (such as a paragraph that has been deleted from a word processing file). Virtual
memory paging systems can leave traces of information on the storage medium that
show what tasks and processes were recently active. Web browsers, e-mail
programs, and chat programs store configuration information on the storage
medium that can reveal information such as online nicknames and passwords.
O`perating systems can record additional information, such as the attachment of
peripherals, the attachment of USB flash storage devices or other external storage
media, and the times the computer was in use, Computer file systems can record
information about the dates files were created and the sequence in which they were
created, although this information can later be falsified.

As explained herein, information stored within a computer and other electronic

storage media may provide crucial'_ evidence of the “who, what, why, When,

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where,`and how” of the criminal conduct under investigation, thus enabling the
United States to establish and prove each element or alternatively, to exclude the l
innocent from further suspicion ln'my training and experience, information
stored within a computer or storage media (e.g., registry information,
communications, images and movies, transactional information, records of
session times and durations, internet history, and anti-virus, spyware, and
malware detection programs) can indicate who has used or controlled the
computer or storage media. This “user attribution” evidence is analogous to the
search for “indicia of occupancy” while executing a search warrant at a residence
The existence or absence of anti-virus, spyware, and malware detection programs
may indicate whether the computer was remotely accessed, thus inculpating or
exculpating the computer owner. Fuither, computer and storage media activity
can indicate how and when the computer or storage media was accessed or used,
For example, as described herein, computers typically contain,information that
log: computer user account session times and durations, computer activity
associated with user accounts, electronic storage media that connected With the
computer, and the lP addresses through which the computer accessed networks
and the internet. Such information allows investigators to understand the
chronological context of computer or electronic storage media access, use, and
events relating to the crime under investigation Additionally, some information
stored within a computer or electronic storage media may provide crucial
evidence relating to the physical location of other evidence and the suspect For

example, images stored on a computer may both show a particular location and

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have geolocation information incorporated into its file data. Such file data

typically also contains information indicating when the file or image was created,

g The existence of such image files, along with external device connection logs,

' may also indicate the presence of additional electronic storage media (e.g., a
digital camera or cellular phone with an incorporated camera). The geographic
and timeline information described herein may either inculpate or exculpate the
computer user. Last, information stored within a computer may provide relevant
insight into the computer user’s state of mind as it relates to the offense under
investigation, For example, information within the computer may indicate the
owner’s motive and intent to commit a crime (e.g., internet searches indicating
criminal planning), or consciousness of guilt (e.g., running a “wiping” program to
destroy evidence on the computer or password protecting/encrypting such
evidence in an effort to conceal it from law enforcement).

A person with appropriate familiarity with how a computer works can, after
examining this forensic evidence in its proper context, draw conclusions about
how computers were used, the purpose of their use, who used them., and when.
The process of identifying the exact liles, blocks, registry entries, logs, or other
forms of forensic evidence on a storage medium that are necessary to draw an
accurate conclusion is a dynamic process. While it is possible to specify in
advance the records to be sought, computer evidence is not always data that can
be merely reviewed by a review team and passed along to investigators Whether
data stored on a computer is evidence may depend on other information stored on

the computer and the application of knowledge about how a computer behaves.

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Therefore', contextual information necessary to understand other evidence also
falls within the scope of the warrant,

e. Further, in finding evidence of how a computer was used, the purpose of its use,
who used it, and when, sometimes it is necessary to establish that a particular
thing is not present on a storage medium. For example, the presence or absence
of counter~forensic programs or anti-Virus programs (and associated data) may be
relevant to establishing the user’s intent.

79. Necessity of seizing or copying entire computers or storage media. ln most cases,
a thorough search of a premises for information that might be stored on storage media often
requires the seizure of the physical storage media and later off-site review consistent with the
warrant, ln lieu of removing storage media from the premises, it is sometimes possible to make
an image copy of storage media. Generally speaking, imaging is the taking of a complete
electronic picture of the computer’s data, including all hidden sectors and deleted files. Either
seizure or imaging is often necessary to ensure the accuracy and completeness of data recorded
on the storage media`, and to prevent the loss of the data either from accidental or intentional
destruction This is true because of the following:

a. The time required for an examination As noted above, not all evidence takes the
form of documents and files that can be easily viewed on site. Analyzing
evidence of how a computer has been used, what it has been used for, and who
has used it requires considerable time, and taking that much time on premises
could be unreasonable As explained above, because the warrant calls for forensic
electronic evidence, it is exceedingly likely that it will be necessary to thoroughly

examine storage media to obtain evidence. Storage media can store a large

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80.

Volume of information Reviewi_ng that information for things described in the
warrant can take weeks or months, depending on the volume of data stored, and
would be impractical and invasive to attempt on-site.

Technical requirements Computers can be configured in several different ways,
featuring a varietyof different operating systems,` application software, and
configurationsl Therefore, searching them sometimes requires tools or knowledge
that might not be present on the search site. The vast array of computer hardware
and software available makes it difficult to know before a search what tools or
knowledge will be required to analyze the system and its data on the Subject
Premises. However,' taking the storage media off-site and reviewing it in a

controlled environment will allow its examination with the proper tools and

knowledge

Variety of forms of electronic media. Records sought under this warrant could be
stored in a variety of storagemedia formats that may require off-site reviewing
with specialized forensic tools.

Nature of examination Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant l am applying for would permit seizing, imaging, or otherwise copying

storage media that reasonably appear to contain some or all of the evidence described in the ~

warrant, and would authorize a later review of the media or information consistent with the

warrant The later review may require techniques, including but not limited to computer-assisted

scans of the entire medium, that might expose many parts of a hard drive to human inspection in

order to determine whether it is evidence described by the warrant,

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81. Based on the foregoing, I respectfully submit`there is probable cause to believe that
the Subject Offenses have been committed and that there is probable cause that evidence of the
Subject Offenses, as described in Attachment B, is to be found at the Subject Premises.

III. Conclusion and Ancillary Provisions

82. Based on the foregoing, l respectfully request the Court to issue a warrant to search
the Subject Premises, as described in Attachment A to this affidavit, and to seize the items and

information specified in Attachment B.

83. In light of the confidential and highly sensitive nature of the continuing
investigation, l respectfully request that this affidavit and all papers submitted herewith be

maintained under seal until the Court orders otherwise

Respectfully submitted,

    

Special Agent
Federal Bureau of lnvestigation
Sworn to before me on /S/

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July ’ 2017 Theresa Carroll Buchanan

W/ .Uni ted States Magistrate ludge

 

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ATTACHMENT A
The Property to Be Searched
The premises to be searched (the “Subject Preniises’i) is the condominium unit located at
_, Alexandria, vA 22314, including the storage unit nambere<-
. as well as any locked drawers, containers, cabinets, safes, computers, electronic devices, and

storage media (such as hard disks or other media that can store data) found therein

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l.

ATTACHMENT B
Items to Be Seized (or, in the alternative, identified)

Records relating to violations of 31 U S`. C §§ 5314, 5322(a) (failme to `f le a report

of foreign bank and financial accounts); 22 U. S. C. § 611 et. seq. (foreign agents registration act);
26 U. S C § 7206(1) (filing a false tax return); 18 U. S. C. § 1014 (ftaud' 111 connection with the
extension of credit); 18 U. S C. §§ 1341, 1343, and 1349 (mail fraud Wire fraud, and conspiracy to
commit these offenses); 18 U. S. C. §§ 1956 and 1957 (money laundering and money laundering
conspiracy); 52 U. S. C §§ 30121(a)(l)(A) and (a)(2) (foreign national contributions); and 18
U. S. C. §§ 371 and 2 (conspiracy, aiding and abetting, and attempt to commit- such offenses)
(collectively, the “Subject Offenses" , occurring on or after January 1, 2006, including but not

limited to:

3..

 
  
 

Any and all financial records for Paul Manafort, Jr., Richard
Gates, or companies associated with Paul Manafort, Jr., or
Richard Gates, including but not limited to records relating to any foreign financial
accounts and records relating to payments by or on behalf of any foreign

govermnent, foreign officials, foreign entities, foreign persons, or foreign

principals;

l
Any and all federal and state tax documentation, including but not limited to
personal and business tax returns and all associated schedules for Paul Manafort,
Jr., Richard Gates, or companies associated with Manafort or Gates;

Letters, correspondence, emails, or other forms of communications with any
foreign financial institution, or any individual acting as the signatory or controlling
any foreign bank account;

Records relating to efforts by Manafort, Gates, or their affiliated entities to conduct
activities on behalf of, for the benefit of, or at the direction of any foreign
government, foreign officials, foreign entities, foreign persons, or foreign
principals, including but not limited to the Party of Regions and Viktor
Yanukovych;

Records relating to, discussing, or documenting Telmar lnvestments Limited,

"I`iakora Ventures Limited, Lucicle Consultants Limited, Actinet Trading Limited,

Black Sea View Limited, Bletilla Ventures Limited, Evo Holdings Limited, Global
Highway Limted, Leviathan Advisors Limited, Loav Advisors Limited, Peranova
Holdings Limited, including but not limited to bank records, canceled checks, 1
money drafts, letters of credit, cashier’s checks, safe deposit records, checkbooks,
and check stubs, duplicates and copies of checks, deposit items, savings passbooks,
wire transfer records, and similar bank and financial account records;

Physical items purchased through the use offunds from Cypriot accounts, including
but not limited to rugs purchased from - , a Bijan Black Titanium
“Royal Way” watch, and clothing purchased from

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g. Evidence relevant to any false statements, pretenses, representations, or material
omissions in connection with communications with the Department of Ju`stice, the
Internal Revenue Service, tax preparers, accountants, or banks;

h. Communications, records, documents, and other files involving any of the
attendees of the June 9, 2016 meeting at Trump tower,

i. Evidence indicating Manafort’s state of mind as it relates to the crimes under
investigation;

j. The identity of any person(s)-including records that help reveal the whereabouts
of the person(s)_who communicated with Manafort about any matters relating to
activities conducted by Manafort on behalf of, for the benefit of, or at the direction
of any foreign government, foreign officials, foreign entities, foreign persons, or
foreign principals;

k. Any and all daily planners, logs, calendars, or schedule books relating to Manafort

or Gates.
2. Computers or storage media used as a means to commit the Subject Offenses.
3. For any computer or storage medium whose seizure is otherwise authorized by

this warrant, and any computer or storage medium that contains or in which is stored records or
information that is otherwise called for by this warrant (hereinafter, “COMPUTER”):

a. evidence of who used, owned, or controlled the COMPUTER at the time the
things described in this warrant were created, edited, or deleted, such as logs,
registry entries, configuration files, saved usernames and passwords,
documents, browsing history, user prof11es, email, email contacts, “cha ,”
instant messaging logs, photographs, and correspondence;

b. evidence of software that would allow others to control the COMPUTER,
such as viruses, Trojan horses, and other forms of malicious software, as well
as evidence of the presence or absence of security software designed to detect
malicious software;

c. evidence of the lack of such malicious software;

d. evidence indicating how and When the computer was accessed or used to
determine the chronological context of computer access, use,`and events
relating to crime under investigation and to the computer user;

e. evidence indicating the computer user’s state of mind as it relates to_the crime
under investigation;

f. evidence of the attachment to the COMPUTER of other storage devices or
similar containers for electronic evidence;

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g. evidence of counter-forensic programs (and associated data) that are designed
to eliminate data from the COMPUTER;

h. evidence of the times the COMPUTER was used;

i. passwords, vencryptioii keys, and other access devices that may be necessary to
access the COMPUTER;

j. documentation and manuals that may be necessary to access the COMPUTER
or to conduct a forensic examination of the COMPUTER;

k. records of or information about Internet Protocol addresses used by the
COMPUTER;

l. records of or information about the COMPUTER’s Internet activity, including
firewall 10 gs, caches, browser history and cookies, “boolonarked” or
“favorite” Web pages, search terms that the user entered into any Internet
search engine, and records of user-typed web addresses; `

m. contextual information necessary to understand the evidence described in this
attachment

As used above, the terms “records” and “information” includes all forms of creation or
storage, including any form of computer or electronic storage (such as hard disks or other media
that can store data); any handmade form (such as writing); any mechanical form (such as printing
or typing); and any photographic form (such as microfilm, microfiche, prints, slides, negatives,
videotapes, motion pictures, or photocopies).

The term “computer” includes all types of electronic, magnetic, optical, electrochernical,
or other'high speed data processing devices performing logical, arithmetic, or storage functions,
including desktop computers, notebook computers, mobile phones, tablets, server computers, and

network hardware

The term “storage medium” includes any physical object upon which computer data can
be recorded Examples include hard disks, RAM, floppy disks, flash memory, CD-ROMS, and

other magnetic or optical media.

